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 4                                UNITED STATES DISTRICT COURT
 5                                     DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )              Case No. 2:14-mj-00487-GWF
                                               )
 9   vs.                                       )              ORDER
                                               )
10   GREGORY WALKER,                           )              Motion to Withdraw - #11
                                               )
11                     Defendant.              )
     __________________________________________)
12
13         This matter is before the Court on the Federal Public Defender’s Ex-Parte Motion to
14   Withdraw and For Appointment of New Counsel (#11), filed on October 20, 2014.
15         Counsel has shown substantially good cause for the withdrawal. Accordingly,
16         IT IS HEREBY ORDERED that the Federal Public Defender’s Ex-Parte Motion to
17   Withdraw (#11) is granted.
18         DATED this 21st day of October, 2014.
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20                                             ______________________________________
                                               GEORGE FOLEY, JR.
21                                             United States Magistrate Judge
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